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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                         01/11/2021
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 BRIGITTE STELZER,

                                                Plaintiff,                    ORDER SCHEDULING TELEPHONE
                                                                              CONFERENCE
                             -against-
                                                                              18-CV-2405 (ER)

 THE VILLAGE VOICE, LLC,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         This case has been referred to me for settlement purposes (docket no. 22). A telephone

conference will be held on Thursday, January 21, 2021 at 10:00 a.m. in advance of a settlement

conference. The parties are directed to review Judge Parker’s Individual Practices at

http://nysd.uscourts.gov/judge/Parker concerning settlement conferences in advance of the

call. Counsel for the parties are directed to call Judge Parker’s Chambers court conference line

at the scheduled time. Please dial (866) 434-5269, Access code: 4858267.

         SO ORDERED.

Dated: January 11, 2021
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
